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 7
 8              IN THE UNITED STATES DISTRICT COURT FOR THE
 9                      EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,         )
                                       )   CR. S-08-065 LKK
12             Plaintiff,              )
                                       )   ORDER CONTINUING STATUS
13                                     )   CONFERENCE
          v.                           )
14                                     )
     TANEKA RAENEE NUNLEY,             )
15                                     )
               Defendant.              )
16                                     )
17
18        This matter came before the Court for a status conference on
19   February 22, 2012, at 9:15 a.m.       Defendant Taneka Raenee Nunley
20   appeared with her counsel, Dan Frank Koukol; and Todd D. Leras,
21   Assistant United States Attorney, appeared on behalf of the
22   United States of America.
23        The parties agreed to set a status conference date of March
24   13, 2012, at 9:15 a.m., and indicated that a change of plea is
25   possible on that date.      The parties requested additional time to
26   prepare and discuss the final terms of a revised plea agreement.
27   Counsel for the government, defense counsel, and defendant Taneka
28   Raenee Nunley herself concurred with the request for additional

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 1   time to prepare and negotiate resolution of this matter.
 2        The Court ordered the status conference continued to March
 3   13, 2012, at 9:15 a.m.    The Court further ordered that time be
 4   excluded under 18 U.S.C. § 3161(h)(8)(B)(iv); Local Code T4
 5   (reasonable time to prepare).      The Court directed government
 6   counsel to prepare a formal order.
 7
 8        IT IS HEREBY ORDERED:
 9        1.     A status conference is set for March 13, 2012, at 9:15
10   a.m.; and
11        2.     Based on the parties’ representations, the Court finds
12   that the ends of justice outweigh the best interest of the public
13   and Defendants in a speedy trial.      Accordingly, time under the
14   Speedy Trial Act shall be excluded through March 13, 2012.
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16        IT IS SO ORDERED
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19   Date: February 23, 2012
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